
62 So. 3d 757 (2011)
Cynthia BRIDGES, Secretary, Louisiana Department of Revenue
v.
HERTZ EQUIPMENT RENTAL CORPORATION.
No. 2010-C-2328.
Supreme Court of Louisiana.
May 20, 2011.
Antonio Charles Ferachi, Sessions, Fishman, Nathan &amp; Israel, LLC, Max Nathan, Jr., New Orleans, for Applicant.
Phelps Dunbar, LLP, Christopher Kent Ralston, Harry Allan Rosenberg, New Orleans, for Respondent.
PER CURIAM.
We granted the Department of Revenue's application for a writ of certiorari in this case on December 17, 2010. After hearing oral arguments and reviewing the record of the matter, we conclude the judgment below does not require the exercise of this court's supervisory authority. Accordingly, we recall our order of December 17, 2010 as improvidently granted, and we deny the writ application.
KIMBALL, Chief Justice, dissents.
JOHNSON, Justice, disssents.
WEIMER, Justice, dissents.
